UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
FRANK CIARAMELLA, et al., on behalf of
themselves and all others similarly situated,

                               Plaintiffs,
                                                        CIVIL ACTION NO.: 18 Civ. 6945 (MKV) (SLC)
         -v-


                                                                          ORDER
HOWARD ZUCKER, as Commissioner of the
Department of Health,


                               Defendants.


SARAH L. CAVE, United States Magistrate Judge.

         Pursuant to the settlement conference held today, July 19, 2022, the parties shall file a

status letter by Tuesday, August 16, 2022, advising the Court whether (i) the parties have

resolved the remaining settlement disputes, and (ii) they would like to schedule a follow-up

settlement conference with the Court.


Dated:          New York, New York
                July 19, 2022

                                                     SO ORDERED.



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                                                     SARAH L. CAVE
                                                     United States Magistrate Judge
